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Return of Service

UNITED STATES DISTRICT COURT
Western District of Washington

U.S. Securities and Exchange Commission
Plaintiff

ve. Case Number: 2:22-cv-01009-TLF
Ishan Wahi; et al.
Defendant

On behalf of:

U.S. Securities and Exchange Commission
100 F St NE

Washington, DC 20549

Received by Cavalier to be served on Ishan Wahi, c/o Andrew St. Laurent, at 40 Wall Street, 53rd Floor, New York NY
10005.

|, Michael Phelan, being duly sworn, depose and say that on July 28, 2022 at or about 9:15 AM | served Summons &

Complaint to Samantha Buckland as paralegal for Andrew St. Laurent, Counsel of Ishan Wahi. Service occurred at
Harris St. Laurent & Wechsler LLP, 40 Wall Street, New York, NY 10005.

| am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in

controversy. | am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, | declare that the foregoing is true and correct.

13] 002

Null

Michael Phelan Date
Cavalier CPS

823-C S. King St.

Leesburg, VA 20175

Our Job Number: 2022-101064

Reference: 22-ENF-116

 
